            Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 1 of 15 Page ID #:736



                    1

                    2

                    3

                    4

                    5

                    6

                    7

                    8
                                      UNITED STATES DISTRICT COURT
                    9
                                    CENTRAL DISTRICT OF CALIFORNIA
               10
                  CLAUDIA ALVARADO, individually,            Case No. 2:20-cv-01926 AB (KKx)
               11
                  and on behalf of others similarly          [PROPOSED] ORDER RE:
               12 situated,                                  STIPULATED PROTECTIVE
                                                             ORDER
               13            Plaintiff,                      [Concurrently filed with Stipulated
               14                                            Protective Order]
                        v.
               15                                            Complaint Filed: January 22, 2020
                  WAL-MART ASSOCIATES, INC., a               Trial Date:       June 7, 2022
               16                                            District Judge: Hon. Andre Birotte, Jr.
                  Delaware corporation; SAM’S WEST,                            Courtroom 7B, First St.
               17 INC., an Arkansas corporation; and         Magistrate Judge: Hon. Kenly Kiya Kato
                                                                               Courtroom 3 or 4,
               18 DOES 1 through 50, inclusive                                 Riverside
               19            Defendants.
               20

               21

               22

               23

               24

               25

               26

               27

               28

Proposed Order Re
                                                           1               Case No. 2:20-cv-01926 AB (KKx)
Stipulated                         [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
            Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 2 of 15 Page ID #:737



                    1         Based upon the Stipulated Protective Order submitted by plaintiff Claudia
                    2   Alvarado (“Plaintiff”) and defendants Wal-Mart Associates, Inc. and Sam’s West,
                    3   Inc.. (together, “Defendants”) (collectively, the “Parties”), and for good cause
                    4   shown:
                    5         The Court hereby ORDERS that:
                    6   1.    A.     PURPOSES AND LIMITATIONS
                    7         Discovery in this action is likely to involve production of confidential,
                    8   proprietary, or private information for which special protection from public disclosure
                    9   and from use for any purpose other than prosecuting this litigation may be warranted.
               10       Accordingly, the parties hereby stipulate to and petition the Court to enter the
               11       following Stipulated Protective Order. The parties acknowledge that this Order does
               12       not confer blanket protections on all disclosures or responses to discovery and that the
               13       protection it affords from public disclosure and use extends only to the limited
               14       information or items that are entitled to confidential treatment under the applicable
               15       legal principles. The parties further acknowledge, as set forth in Section 12.3, below,
               16       that this Stipulated Protective Order does not entitle them to file confidential
               17       information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
               18       followed and the standards that will be applied when a party seeks permission from
               19       the court to file material under seal.
               20             B.     GOOD CAUSE STATEMENT
               21             Defendants believe and represent that this action is likely to involve
               22       commercial, financial, technical and/or proprietary information for which special
               23       protection from public disclosure and from use for any purpose other than prosecution
               24       of this action is warranted. Such confidential and proprietary materials and information
               25       consist of, among other things, confidential business or financial information,
               26       information regarding confidential business practices, or other confidential research,
               27       development, or commercial information (including information implicating privacy
               28       rights of third parties), information otherwise generally unavailable to the public, or

Proposed Order Re
                                                                   2               Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                 [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
            Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 3 of 15 Page ID #:738



                    1   which may be privileged or otherwise protected from disclosure under state or federal
                    2   statutes, court rules, case decisions, or common law. Accordingly, to expedite the flow
                    3   of information, to facilitate the prompt resolution of disputes over confidentiality of
                    4   discovery materials, to adequately protect information the parties are entitled to keep
                    5   confidential, to ensure that the parties are permitted reasonable necessary uses of such
                    6   material in preparation for and in the conduct of trial, to address their handling at the
                    7   end of the litigation, and serve the ends of justice, a protective order for such
                    8   information is justified in this matter. It is the intent of the parties that information will
                    9   not be designated as confidential for tactical reasons and that nothing be so designated
               10       without a good faith belief that it has been maintained in a confidential, non-public
               11       manner, and there is good cause why it should not be part of the public record of this
               12       case.
               13

               14       2.      DEFINITIONS
               15               2.1   Action: this pending federal lawsuit, entitled Claudia Alvarado v. Wal-
               16       Mart Associates, Inc. and Sam’s West, Inc., et al., Case No.: 2:20-cv-01926 AB
               17       (KKx).
               18               2.2   Challenging Party: a Party or Non-Party that challenges the designation
               19       of information or items under this Order.
               20               2.3   “CONFIDENTIAL” Information or Items: information (regardless of
               21       how it is generated, stored or maintained) or tangible things that qualify for protection
               22       under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
               23       Statement.
               24               2.4   Counsel: Outside Counsel of Record and House Counsel (as well as their
               25       support staff).
               26               2.5   Designating Party: a Party or Non-Party that designates information or
               27       items that it produces in disclosures or in responses to discovery as
               28       “CONFIDENTIAL.”

Proposed Order Re
                                                                    3               Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                  [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
            Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 4 of 15 Page ID #:739



                    1         2.6    Disclosure or Discovery Material: all items or information, regardless of
                    2   the medium or manner in which it is generated, stored, or maintained (including,
                    3   among other things, testimony, transcripts, and tangible things), that are produced or
                    4   generated in disclosures or responses to discovery in this matter.
                    5         2.7    Expert: a person with specialized knowledge or experience in a matter
                    6   pertinent to the litigation who has been retained by a Party or its counsel to serve as
                    7   an expert witness or as a consultant in this Action.
                    8         2.8    House Counsel: attorneys who are employees of a party to this Action.
                    9   House Counsel does not include Outside Counsel of Record or any other outside
               10       counsel.
               11             2.9    Non-Party: any natural person, partnership, corporation, association or
               12       other legal entity not named as a Party to this action.
               13             2.10 Outside Counsel of Record: attorneys who are not employees of a party
               14       to this Action but are retained to represent or advise a party to this Action and have
               15       appeared in this Action on behalf of that party or are affiliated with a law firm that has
               16       appeared on behalf of that party, and includes support staff.
               17             2.11 Party: any party to this Action, including all of its officers, directors,
               18       employees, consultants, retained experts, and Outside Counsel of Record (and their
               19       support staffs).
               20             2.12 Producing Party: a Party or Non-Party that produces a Disclosure or
               21       Discovery Material in this Action.
               22             2.13 Professional Vendors: persons or entities that provide litigation support
               23       services (e.g., photocopying, videotaping, translating, preparing exhibits or
               24       demonstrations, and organizing, storing, or retrieving data in any form or medium) and
               25       their employees and subcontractors.
               26             2.14 Protected Material:       any Disclosure or Discovery Material that is
               27       designated as “CONFIDENTIAL.”
               28

Proposed Order Re
                                                                   4               Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                 [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
            Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 5 of 15 Page ID #:740



                    1         2.15 Receiving Party: a Party that receives a Disclosure or Discovery Material
                    2   from a Producing Party.
                    3

                    4   3.    SCOPE
                    5         The protections conferred by this Stipulation and Order cover not only Protected
                    6   Material (as defined above), but also (1) any information copied or extracted from
                    7   Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
                    8   Material; and (3) any testimony, conversations, or presentations by Parties or their
                    9   Counsel that might reveal Protected Material.
               10             Any use of Protected Material at trial shall be governed by the orders of the trial
               11       judge. This Order does not govern the use of Protected Material at trial.
               12

               13       4.    DURATION
               14             Even after final disposition of this litigation, the confidentiality obligations
               15       imposed by this Order shall remain in effect until a Designating Party agrees otherwise
               16       in writing or a court order otherwise directs. Final disposition shall be deemed to be
               17       the later of (1) dismissal of all claims and defenses in this Action, with or without
               18       prejudice; and (2) final judgment herein after the completion and exhaustion of all
               19       appeals, re-hearings, remands, trials, or reviews of this Action, including the time
               20       limits for filing any motions or applications for extension of time pursuant to
               21       applicable law.
               22

               23       5.    DESIGNATING PROTECTED MATERIAL
               24             5.1    Exercise of Restraint and Care in Designating Material for Protection.
               25       Each Party or Non-Party that designates information or items for protection under this
               26       Order must take care to limit any such designation to specific material that qualifies
               27       under the appropriate standards. The Designating Party must designate for protection
               28       only those parts of material, documents, items or oral or written communications that

Proposed Order Re
                                                                   5               Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                 [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
            Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 6 of 15 Page ID #:741



                    1   qualify so that other portions of the material, documents, items or communications for
                    2   which protection is not warranted are not swept unjustifiably within the ambit of this
                    3   Order.
                    4            Mass, indiscriminate or routinized designations are prohibited. Designations
                    5   that are shown to be clearly unjustified or that have been made for an improper purpose
                    6   (e.g., to unnecessarily encumber the case development process or to impose
                    7   unnecessary expenses and burdens on other parties) may expose the Designating Party
                    8   to sanctions.
                    9            If it comes to a Designating Party’s attention that information or items that it
               10       designated for protection do not qualify for protection, that Designating Party must
               11       promptly notify all other Parties that it is withdrawing the inapplicable designation.
               12                5.2    Manner and Timing of Designations. Except as otherwise provided in
               13       this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
               14       stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
               15       under this Order must be clearly so designated before the material is disclosed or
               16       produced.
               17                Designation in conformity with this Order requires:
               18                (a)    for information in documentary form (e.g., paper or electronic
               19       documents, but excluding transcripts of depositions or other pretrial or trial
               20       proceedings), that the Producing Party affix at a minimum, the legend
               21       “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
               22       contains protected material. If only a portion of the material on a page qualifies for
               23       protection, the Producing Party also must clearly identify the protected portion(s) (e.g.,
               24       by making appropriate markings in the margins).
               25                A Party or Non-Party that makes original documents available for inspection
               26       need not designate them for protection until after the inspecting Party has indicated
               27       which documents it would like copied and produced. During the inspection and before
               28       the designation, all of the material made available for inspection shall be deemed

Proposed Order Re
                                                                     6               Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                   [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
            Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 7 of 15 Page ID #:742



                    1   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
                    2   copied and produced, the Producing Party must determine which documents, or
                    3   portions thereof, qualify for protection under this Order. Then, before producing the
                    4   specified documents, the Producing Party must affix the “CONFIDENTIAL legend”
                    5   to each page that contains Protected Material. If only a portion of the material on a
                    6   page qualifies for protection, the Producing Party also must clearly identify the
                    7   protected portion(s) (e.g., by making appropriate markings in the margins).
                    8         (b)     for testimony given in depositions that the Designating Party identifies
                    9 the Disclosure or Discovery Material on the record, before the close of the deposition

               10 all protected testimony.

               11             (c)     for information produced in some form other than documentary and for
               12       any other tangible items, that the Producing Party affix in a prominent place on the
               13       exterior of the container or containers in which the information is stored the legend
               14       “CONFIDENTIAL.” If only a portion or portions of the information warrants
               15       protection, the Producing Party, to the extent practicable, shall identify the protected
               16       portion(s).
               17             5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
               18       failure to designate qualified information or items does not, standing alone, waive the
               19       Designating Party’s right to secure protection under this Order for such material. Upon
               20 timely correction of a designation, the Receiving Party must make reasonable efforts

               21 to assure that the material is treated in accordance with the provisions of this Order.

               22

               23       6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
               24             6.1     Timing of Challenges.      Any Party or Non-Party may challenge a
               25       designation of confidentiality at any time that is consistent with applicable law and
               26       the Court’s scheduling order.
               27             6.2     Meet and Confer. The Challenging Party shall initiate the challenge by
               28       following the dispute resolution process under Local Rule 37-1 et seq.

Proposed Order Re
                                                                   7               Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                 [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
            Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 8 of 15 Page ID #:743



                    1         6.3    Joint Stipulation. Any challenge submitted to the Court shall be via a
                    2   joint stipulation pursuant to Local Rule 37-2 et seq.
                    3         6.4    The burden of persuasion in any such challenge proceeding shall be on
                    4   the Designating Party. Frivolous challenges, and those made for an improper purpose
                    5   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
                    6   expose the Challenging Party to sanctions. Unless the Designating Party has waived
                    7   or withdrawn the confidentiality designation, all parties shall continue to afford the
                    8   material in question the level of protection to which it is entitled under the Producing
                    9   Party’s designation until the Court rules on the challenge.
               10

               11       7.    ACCESS TO AND USE OF PROTECTED MATERIAL
               12             7.1    Basic Principles. A Receiving Party may use Protected Material that is
               13       disclosed or produced by another Party or by a Non-Party in connection with this
               14       Action only for prosecuting, defending or attempting to settle this Action. Such
               15       Protected Material may be disclosed only to the categories of persons and under the
               16       conditions described in this Order. When the Action has been terminated, a Receiving
               17       Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
               18             Protected Material must be stored and maintained by a Receiving Party at a
               19       location and in a secure manner that ensures that access is limited to the persons
               20       authorized under this Order.
               21             7.2    Disclosure of “CONFIDENTIAL” Information or Items.                    Unless
               22       otherwise ordered by the court or permitted in writing by the Designating Party, a
               23       Receiving Party may disclose any information or item designated “CONFIDENTIAL”
               24 only to:

               25             (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well
               26       as employees of said Outside Counsel of Record to whom it is reasonably necessary
               27       to disclose the information for this Action;
               28             (b)    the officers, directors, and employees (including House Counsel) of the

Proposed Order Re
                                                                   8               Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                 [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
            Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 9 of 15 Page ID #:744



                    1   Receiving Party to whom disclosure is reasonably necessary for this Action;
                    2         (c)    Experts (as defined in this Order) of the Receiving Party to whom
                    3   disclosure is reasonably necessary for this Action and who have signed the
                    4   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                    5         (d)    the court and its personnel;
                    6         (e)    court reporters and their staff;
                    7         (f)    professional jury or trial consultants, mock jurors, and Professional
                    8   Vendors to whom disclosure is reasonably necessary for this Action and who have
                    9   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
               10             (g)    the author or recipient of a document containing the information or a
               11       custodian or other person who otherwise possessed or knew the information;
               12             (h)    during their depositions, witnesses, and attorneys for witnesses, in the
               13       Action to whom disclosure is reasonably necessary provided: (1) the deposing party
               14       requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will
               15       not be permitted to keep any confidential information unless they sign the
               16       “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed
               17       by the Designating Party or ordered by the court. Pages of transcribed deposition
               18       testimony or exhibits to depositions that reveal Protected Material may be separately
               19       bound by the court reporter and may not be disclosed to anyone except as permitted
               20       under this Stipulated Protective Order; and
               21             (i)    any mediator or settlement officer, and their supporting personnel,
               22       mutually agreed upon by any of the parties engaged in settlement discussions.
               23

               24       8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
               25             OTHER LITIGATION
               26             If a Party is served with a subpoena or a court order issued in other litigation
               27       that compels disclosure of any information or items designated in this Action as
               28       “CONFIDENTIAL,” that Party must:

Proposed Order Re
                                                                   9               Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                 [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
           Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 10 of 15 Page ID #:745



                    1         (a)    promptly notify in writing the Designating Party. Such notification shall
                    2   include a copy of the subpoena or court order;
                    3         (b)    promptly notify in writing the party who caused the subpoena or order to
                    4   issue in the other litigation that some or all of the material covered by the subpoena or
                    5   order is subject to this Protective Order. Such notification shall include a copy of this
                    6   Stipulated Protective Order; and
                    7         (c)    cooperate with respect to all reasonable procedures sought to be pursued
                    8   by the Designating Party whose Protected Material may be affected.
                    9         If the Designating Party timely seeks a protective order, the Party served with
               10       the subpoena or court order shall not produce any information designated in this action
               11       as “CONFIDENTIAL” before a determination by the court from which the subpoena
               12       or order issued, unless the Party has obtained the Designating Party’s permission. The
               13       Designating Party shall bear the burden and expense of promptly seeking protection
               14       in that court of its confidential material and nothing in these provisions should be
               15       construed as authorizing or encouraging a Receiving Party in this Action to disobey a
               16       lawful directive from another court.
               17

               18       9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
               19             PRODUCED IN THIS LITIGATION
               20             (a)    The terms of this Order are applicable to information produced by a Non-
               21       Party in this Action and designated as “CONFIDENTIAL.” Such information
               22       produced by Non-Parties in connection with this litigation is protected by the remedies
               23       and relief provided by this Order. Nothing in these provisions should be construed as
               24       prohibiting a Non-Party from seeking additional protections.
               25             (b)    In the event that a Party is required, by a valid discovery request, to
               26       produce a Non-Party’s confidential information in its possession, and the Party is
               27       subject to an agreement with the Non-Party not to produce the Non-Party’s
               28       confidential information, then the Party shall:

Proposed Order Re
                                                                   10              Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                 [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
           Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 11 of 15 Page ID #:746



                    1                (1)    promptly notify in writing the Requesting Party and the Non-Party
                    2   that some or all of the information requested is subject to a confidentiality agreement
                    3   with a Non-Party;
                    4                (2)    promptly provide the Non-Party with a copy of the Stipulated
                    5   Protective Order in this Action, the relevant discovery request(s), and a reasonably
                    6   specific description of the information requested; and
                    7                (3)    make the information requested available for inspection by the
                    8   Non-Party, if requested.
                    9         (c)    If the Non-Party fails to seek a protective order from this court within 14
               10       days of receiving the notice and accompanying information, the Receiving Party may
               11       produce the Non-Party’s confidential information responsive to the discovery request.
               12       If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
               13       any information in its possession or control that is subject to the confidentiality
               14       agreement with the Non-Party before a determination by the court. Absent a court
               15       order to the contrary, the Non-Party shall bear the burden and expense of seeking
               16       protection in this court of its Protected Material.
               17

               18       10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
               19             If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
               20       Protected Material to any person or in any circumstance not authorized under this
               21       Stipulated Protective Order, the Receiving Party must immediately (a) notify in
               22       writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
               23       to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
               24       persons to whom unauthorized disclosures were made of all the terms of this Order,
               25       and (d) request such person or persons to execute the “Acknowledgment and
               26       Agreement to Be Bound” that is attached hereto as Exhibit A.
               27

               28

Proposed Order Re
                                                                    11              Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                  [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
           Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 12 of 15 Page ID #:747



                    1   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                    2         PROTECTED MATERIAL
                    3         When a Producing Party gives notice to Receiving Parties that certain
                    4   inadvertently produced material is subject to a claim of privilege or other protection,
                    5   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                    6   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
                    7   may be established in an e-discovery order that provides for production without prior
                    8   privilege review. This Order shall be interpreted to provide the maximum protection
                    9   allowed by Federal Rule of Evidence (FRE) 502(d) and shall be enforceable and
               10       granted full faith and credit in all other state and federal proceedings by 28 U.S. Code
               11       § 1738. In the event of any subsequent conflict of law, the law that is most protective
               12       of privilege and work product shall apply. Pursuant to Federal Rule of Evidence 502(d)
               13       and (e), insofar as the parties reach an agreement on the effect of disclosure of a
               14       communication or information covered by the attorney-client privilege or work
               15       product protection, the parties may incorporate their agreement in the stipulated
               16       protective order submitted to the court.
               17

               18       12.   MISCELLANEOUS
               19             12.1 Right to Further Relief. Nothing in this Order abridges the right of any
               20       person to seek its modification by the Court in the future.
               21             12.2 Right to Assert Other Objections. By stipulating to the entry of this
               22       Protective Order, no Party waives any right it otherwise would have to object to
               23       disclosing or producing any information or item on any ground not addressed in this
               24       Stipulated Protective Order. Similarly, no Party waives any right to object on any
               25       ground to use in evidence of any of the material covered by this Protective Order.
               26             12.3 Filing Protected Material. A Party that seeks to file under seal any
               27       Protected Material must comply with Local Civil Rule 79-5. Protected Material may
               28       only be filed under seal pursuant to a court order authorizing the sealing of the specific

Proposed Order Re
                                                                   12              Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                 [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
           Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 13 of 15 Page ID #:748



                    1   Protected Material at issue. If a Party’s request to file Protected Material under seal is
                    2   denied by the court, then the Receiving Party may file the information in the public
                    3   record unless otherwise instructed by the court.
                    4

                    5   13.   FINAL DISPOSITION
                    6         Unless otherwise ordered or agreed in writing by the Producing Party, within
                    7   sixty days after the final disposition of this action and upon demand, each Receiving
                    8   Party must return all Protected Material to the Producing Party or destroy such
                    9   material. As used in this subdivision, “all Protected Material” includes all copies,
               10       abstracts, compilations, summaries, and any other format reproducing or capturing any
               11       of the Protected Material. Whether the Protected Material is returned or destroyed, the
               12       Receiving Party must submit a written certification to the Producing Party (and, if not
               13       the same person or entity, to the Designating Party) by the 60 day deadline that (1)
               14       identifies (by category, where appropriate) all the Protected Material that was returned
               15       or destroyed and (2) affirms that the Receiving Party has not retained any copies,
               16       abstracts, compilations, summaries or any other format reproducing or capturing any
               17       of the Protected Material. Notwithstanding this provision, Counsel are entitled to
               18       retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
               19       transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
               20       reports, attorney work product, and consultant and expert work product, even if such
               21       materials contain Protected Material. Any such archival copies that contain or
               22       constitute Protected Material remain subject to this Protective Order as set forth in
               23       Section 4 (DURATION). Nothing in this Order shall be construed to waive or abridge
               24       any privilege or any protection against the disclosure of attorney work product.
               25

               26       14.   VIOLATION
               27             Any violation of this Order may be punished by any and all measures available
               28       under law.

Proposed Order Re
                                                                   13              Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                 [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
           Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 14 of 15 Page ID #:749



                    1   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                    2

                    3
                        DATED: November 6, 2020
                    4                                      HON. KENLY KIYA KATO
                                                           United States Magistrate Judge
                    5

                    6

                    7

                    8

                    9

               10

               11

               12

               13

               14

               15

               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26

               27

               28

Proposed Order Re
                                                               14              Case No. 2:20-cv-01926 AB (KKx)
Stipulated                             [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
           Case 2:20-cv-01926-AB-KK Document 51 Filed 11/06/20 Page 15 of 15 Page ID #:750



                    1                                          EXHIBIT A
                    2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                    3           I, _______________________________ [print or type full name], of
                    4   _____________ [print or type full address], declare under penalty of perjury that I
                    5   have read in its entirety and understand the Stipulated Protective Order that was issued
                    6   by the United States District Court for the Central District of California on ____ in the
                    7   case of Claudia Alvarado v. Wal-Mart Associates, Inc. and Sam’s West, Inc., et al.,
                    8   Case No.: 2:20-cv-01926 AB (KKx). I agree to comply with and to be bound by all
                    9   the terms of this Stipulated Protective Order and I understand and acknowledge that
               10       failure to so comply could expose me to sanctions and punishment in the nature of
               11       contempt. I solemnly promise that I will not disclose in any manner any information
               12       or item that is subject to this Stipulated Protective Order to any person or entity except
               13       in strict compliance with the provisions of this Order.
               14               I further agree to submit to the jurisdiction of the United States District Court
               15       for the Central District of California for enforcing the terms of this Stipulated
               16       Protective Order, even if such enforcement proceedings occur after termination of this
               17       action. I hereby appoint ___________ [print or type full name] of __________ [print
               18       or type full address and telephone number] as my California agent for service of
               19       process in connection with this action or any proceedings related to enforcement of
               20       this Stipulated Protective Order.
               21       Date:
               22       City and State where sworn and signed:
               23       Printed name:
               24       Signature:
               25

               26

               27

               28

Proposed Order Re
                                                                    15              Case No. 2:20-cv-01926 AB (KKx)
Stipulated                                  [PROPOSED] ORDER RE: STIPULATED PROTECTIVE ORDER
